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           22-2908(L)             22-2972 (Con)
.


                          United States Court of Appeals
                             For the Second Circuit
           IVAN ANTONYUK, COREY JOHNSON, ALFRED TERRILLE, JOSEPH MANN,
                       LESLIE LEMAN, AND LAWRENCE SLOANE,
                                                 Plaintiffs-Appellees
                                          v.
    STEVEN G. JAMES, IN HIS OFFICIAL CAPACITY AS ACTING SUPERINTENDENT OF THE NEW
    YORK STATE POLICE, MATTHEW J. DORAN, IN HIS OFFICIAL CAPACITY AS THE LICENSING
     OFFICIAL OF ONONDAGA COUNTY, JOSEPH CECILE, IN HIS OFFICIAL CAPACITY AS THE
                              CHIEF OF POLICE OF SYRACUSE,
                                                      Defendants-Appellants
    KATHLEEN HOCHUL, IN HER OFFICIAL CAPACITY AS THE GOVERNOR OF THE STATE OF
      NEW YORK, WILLIAM FITZPATRICK, IN HIS OFFICIAL CAPACITY AS THE ONONDAGA
    COUNTY DISTRICT ATTORNEY, TOBIAS J. SHELLEY, IN HIS OFFICIAL CAPACITY AS THE
    SHERIFF OF ONONDAGA COUNTY, P. DAVID SOARES, IN HIS OFFICIAL CAPACITY AS THE
    DISTRICT ATTORNEY OF OSWEGO COUNTY, DON HILTON, IN HIS OFFICIAL CAPACITY AS
    THE SHERIFF OF OSWEGO COUNTY, JOSEPH STANZIONE, IN HIS OFFICIAL CAPACITY AS
                     THE DISTRICT ATTORNEY OF GREENE COUNTY,
                                                   Defendants

                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


               PLAINTIFFS-APPELLEES’ SUPPLEMENTAL BRIEF
                       ON UNITED STATES V. RAHIMI

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                                  INTRODUCTION

       On June 23, 2022, the Supreme Court struck down New York’s requirement that

a person demonstrate that “proper cause exists” as a condition of being granted a

license to possess and carry a handgun. N.Y. State Rifle & Pistol Ass’n v. Bruen, 597 U.S.

1, 12 (2022). Eight days later, New York enacted the “Concealed Carry Improvement

Act” (“CCIA”). See 2022 N.Y. Sess. Laws ch. 371. Rather than complying with the

Supreme Court’s decision, New York called Bruen reprehensible, reckless, and

politicized,1 and enacted a new statutory scheme which made the concealed carry of

firearms far more restrictive, and the licensing process more onerous, than before Bruen.

       This Court issued its opinion on December 8, 2023. Antonyuk v. Chiumento, 89

F.4th 271 (2d Cir. 2023) (“Op.”). Appellees filed a petition for writ of certiorari in the

U.S. Supreme Court, which granted certiorari, vacated this Court’s judgment, and

remanded for “further consideration in light of United States v. Rahimi.” Antonyuk v.

James, 2024 U.S. LEXIS 2929 (July 2, 2024).2 This Court then ordered supplemental

briefing as to how Rahimi “affects the judgment of this Court....” See Doc. No. 429.

       United States v. Rahimi, 144 S. Ct. 1889 (2024), confirms that this Court’s singular

reliance on mid-to-late 19th-century history was improper. Likewise, Rahimi rejects

outright that a person “may be disarmed simply because he is not ‘responsible[],’” id. at


1
  A. Hagstrom, NY Gov. Hochul Defiant After Supreme Court Gun Decision: ‘We’re Just Getting
Started,’ FOX NEWS (June 23, 2022), https://fxn.ws/3HPDiHu.
2
  Of the eight cases GVRed in light of Rahimi, this case is the only one in an interlocutory
posture. https://tinyurl.com/msvnjdcv.

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1903, repudiating this Court’s cabining Second Amendment rights to “law-abiding and

responsible citizens....” Op. at 314. Next, Rahimi reconfirms the text, history, and

tradition framework from District of Columbia v. Heller, 554 U.S. 570 (2008), and Bruen,

undermining this Court’s view that less “exceptional cases” permit a “more nuanced

approach.” Op. at 339. Indeed, the Rahimi Court made clear that it was following

Bruen’s methodology to the letter. Rahimi at 1898. Finally, Rahimi demonstrates that

this Court must wrestle with the complete history of “good moral character” – including

its uniquely racist pedigree – not just a sanitized version from the late 1800s. For these

reasons, Rahimi confirms that the district court’s preliminary injunction challenged on

appeal should be affirmed.3

                                     ARGUMENT

I.     RAHIMI CONFIRMS THAT “GOOD MORAL CHARACTER” IS NOT A
       PREREQUISITE TO EXERCISE SECOND AMENDMENT RIGHTS.

     A. Rahimi Rejects the Notion that Only Persons Deemed Virtuous by the
        State Have the Right to Bear Arms.




3
  As to this Court’s affirmance of the district court’s injunction of the social media
disclosure requirement and the private-property ban, Rahimi changes nothing and these
issues were rightly decided. Indeed, in affirming the injunction as to social media, this
Court noted “the absence of any analogous disclosure requirement from the historical
record,” no matter the time period, “combined with the constitutional interests implicated”
under the First Amendment “right to speak anonymously.” Op. at 333, 331. Likewise,
this Court rightly upheld the district court’s injunction as to private properties open to
the public because Defendants’ analogues all dealt with “enclosed private lands, i.e.,
private land closed to the public,” and not all private properties generally. Id. at 385.

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      This Court called New York’s “good moral character” requirement “a proxy for

dangerousness.” Op. at 312; see also id. at 315 (“dangerousness is the core of New York’s

character requirement.”). And since “good moral character” purportedly serves to

disarm at least dangerous persons, allegedly “part of the nation’s tradition of firearm

regulation,” whether it also extends to “all law-breakers or ‘unvirtuous’ individuals” is

irrelevant. Id. at 314, 312. This Court further asserted that dangerous persons are not

the only ones who can be disarmed, because “the Supreme Court has repeatedly

admonished that the Second Amendment protects the rights of law-abiding and

responsible citizens and has approved of4 … regimes that deny firearms licenses to

individuals who lack good moral character in the sense that they are not law-abiding

and responsible and pose a danger to the community if licensed....” Id. at 314.




4
  Plaintiffs disagree that Bruen’s footnote 9 “approved” of anything beyond requiring
that licensing processes use “narrow, objective, and definite” standards, while flatly
prohibiting the “appraisal of facts, the exercise of judgment, and the formation of an
opinion.” Bruen at 38 n.9. Indeed, footnote 9 simply contrasted the features of New
York’s licensing scheme – which did prevent some from “exercising their Second
Amendment right to public carry” – with other regimes, not at issue, which did “not
necessarily prevent” the same because they “appear[ed] to contain” certain features. Id.
This is not language of approval. Rather, declining to “suggest the unconstitutionality”
of a statutory scheme at most indicates neutrality. But more importantly, the vast
majority of the “43 … ‘shall-issue’ licensing regimes” the Court identified do not
condition public carry on issuance of a license, with many either being “constitutional
carry” jurisdictions, or allowing unlicensed open carry. Id. Thus, the constitutionality
of these entirely voluntary licensing regimes (e.g., in place to allow residents to obtain
interstate reciprocity) says nothing about the constitutionality of a licensing scheme with
which people must comply in order to carry at all.

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       Rahimi undermines these conclusions. At oral argument, Justices Thomas and

Roberts questioned the government’s claim that it may disarm anyone deemed not

“law-abiding and responsible.” Rahimi Transcript (“Tr.”) at 5 (Thomas); id. at 8

(Roberts). And when the Solicitor General pivoted, downplaying use of “responsible”

as nothing more than a “placeholder” for “dangerous[ness]” (id. at 10), the Court clearly

did not agree. Id. at 11 (Justice Kavanaugh: “no daylight at all then between not

responsible and dangerous?”); id. at 12 (Justice Barrett: “So it’s not a synonym for

virtue?”); id. at 30 (Justice Roberts: “why did you use the term ‘responsible’ if what you

meant was dangerous?”). See also Rahimi at 1945 (Thomas, J., dissenting) (“the Court

has never adopted anything akin to the Government’s … argu[ment]....’”). Rahimi’s

rejection of “responsible” and “law-abiding” as a “placeholder” for “dangerous[ness]”

(Tr. at 10) cannot be squared with the view that “good moral character” (i.e. “not law-

abiding and responsible”) is a “proxy” for “dangerousness.” Op. at 312.

       Additionally, Rahimi rejects the notion that a person “may be disarmed simply

because he is not ‘responsible.’”         Rahimi at 1903.       As the Court explained,

“‘[r]esponsible’ is a vague term,” “[i]t is unclear what such a rule would entail,” and such

a standard does not “derive from our case law,” which “said nothing about the status

of citizens who were not ‘responsible.’” Id.; see also id. at 1910 (Gorsuch, J., concurring);

id. at 1944 (Thomas, J., dissenting) (“Not a single Member of the Court adopts th[at]

theory....’”); id. at 1944 n.7 (“Bruen … used the phrase ‘ordinary, law-abiding citizens’

merely to describe those who were unable to publicly carry....”). Likewise, Bruen rejected

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the idea that a person could be disarmed because of “a perceived lack of … suitability.”

Bruen at 13; see also id. at 14-15 (emphasis added) (identifying impermissible “may issue”

regimes by the requirement that applicants “demonstrate[] cause or suitability”); cf. Op.

at 300 (positing “simultaneous endorsement of … suitability regimes”). Rahimi thus

rejects the conclusion that a person can be disarmed if he is not “law-abiding and

responsible....” Op. at 314. Rahimi’s rejection of the “vague term … responsible” as a

basis for disarmament (Rahimi at 1903) is irreconcilable with this Court’s sanctioning of

“‘good moral character’ in the sense [of] not law-abiding and responsible” – “a spongy

concept susceptible to abuse,” as a basis for disarmament. Op. at 314, 316.5



5
  Both Rahimi and Bruen undermine this Court’s rejection of Plaintiffs’ facial challenge
to the “good moral character” requirement. Bruen invalidated New York’s “proper
cause” requirement facially, even though some upstate licensing authorities considered
self-defense sufficient “proper cause” (i.e., constitutional in some “circumstances” and
“applications,” Op. at 313, 314). Bruen did not limit its ruling on an as-applied basis to
those whose applications had been denied, but invalidated “proper cause” facially
because the very notion of requiring it was ahistorical. Likewise, Rahimi rejected a facial
challenge because the individualized-danger disarmament process at issue was historical.
Rahimi at 1902. Here, there is no historical basis for requiring that one affirmatively
prove good moral character as a precondition to firearm licensure. The process
therefore fails as a historical matter, irrespective of whether individual applicants
ultimately succeed in obtaining licenses, or whether the patently unconstitutional
standard could be applied ‘constitutionally’ in some cases. See Lakewood v. Plain Dealer
Pub. Co., 486 U.S. 750 (1988) (citing cases establishing “that when a licensing statute
allegedly vests unbridled discretion in a government official over whether to permit or
deny expressive activity, one who is subject to the law may challenge it facially without
the necessity of first applying for, and being denied, a license”). Indeed, this Court’s
holding that “Sloane’s injury is attributable to the character provision itself” is difficult
to reconcile with the conclusion that, “[s]ince at least some possible applications of the
character requirement would not violate the Constitution, it is not unconstitutional on
its face.” Op. at 306, 315. Even if the “good moral character” provision could ferret

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   B. New York’s Disarmament Process Does Not Meet Rahimi Standards.

      Even if “good moral character” were not a “spongy concept” that sanctions

disarmament for being “unsuitable,” “unvirtuous,” or not “law-abiding and

responsible,” the CCIA still fails to measure up to the “significant procedural

protections” discussed in Rahimi. Rahimi at 1900. For starters is the burden. Both

Section 922(g)(8), and the historical “surety” and “going armed” analogues to which the

Court compared it (Rahimi at 1900-01), required accusation of some particular

wrongdoing. In Rahimi, for example, “C.M. went to court to seek a restraining order.”

Id. at 1895. This was said to be analogous to Founding-era surety statutes, such as

where “the wife of a Connecticut judge, appeared … to make a complaint against her

husband.” Id. at 1900. Likewise, pursuant to “going armed” statutes, “a complaint had

to be made to a judge or justice of the peace,” who then made a “determin[ation] that

cause existed....” Id. In other words, the burden was on an accuser to demonstrate –

and a judge6 to find – a person dangerous before disarming him. In stark contrast, the

CCIA prohibits firearm possession by everyone, unless and until each license applicant

affirmatively demonstrates his “good moral character” to the satisfaction of licensing



out some dangerous persons, the inquiry itself is unconstitutional. This Court’s holding
is akin to authorizing warrantless searches of all cars because some might contain drugs.
6
  That New York judges are often licensing officials scores the CCIA no points vis-à-
vis Rahimi. That is because, when acting in a licensure capacity, “the licensing process
[is] quasi-judicial, but not fully judicial. … Thus, the gun licensing process exists in an
uneasy and constitutionally murky boundary between the judicial and executive
functions.” In re Benedetti, 212 N.Y.S.3d 806, 809 (Sup. Ct. 2024).

                                            6
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officials.7 This includes proactively supplying social media accounts to the government,

proactively meeting with a licensing official, and proactively having others “attest to [one’s]

good moral character.” N.Y. Penal Law § 400.00(1)(o)(ii). In other words, the “good

moral character” requirement burdens an applicant to prove that he has “good moral

character,” rather than burdening the government to show that he does not. And yet

Bruen struck down New York’s proper cause requirement precisely because “New York

presumes that individuals have no public carry right,” whereas “the surety statutes

presumed that individuals had a right to public carry....” Bruen at 56.

       As the Supreme Court explained, Section 922(g)(8) and its historical analogues

“do[] not broadly restrict arms use by the public generally,” such that “the Second

Amendment right may only be burdened once a defendant has been found to pose a

credible threat to the physical safety of others.” Rahimi at 1902 (emphasis added); see

also Bruen at 56 (“burdened only if another could make out a specific showing of

‘reasonable cause to fear an injury.’”). Referencing “New York’s gun licensing scheme,”

the Supreme Court noted that it had found New York’s statute unconstitutional in Bruen


7
  See Antonyuk v. Hochul, 639 F. Supp. 3d 232, 303 (N.D.N.Y. 2022) (the CCIA imposes
the “burden of persuading a license officer that he or she is of ‘good moral character’”);
id. at n.79 (“[t]he need for an affirmative finding of ‘good moral character’ … presumes
a lack of it [which] depart[s] from the historical statutes, which presumed a right to
carry.”); Op. at 289 (applicant must “show good moral character”); id. at 309 (“the
character provision determines who can receive a concealed carry license”); see also
Benedetti, 212 N.Y.S.3d at 808 (“the question here is not whether the applicant has a
right to a license, but rather, does the court possess the power to grant it.”); Harper v.
Neary, 225 A.D.3d 595, 597 (N.Y. App. Div. 2024) (“Penal Law § 400.00 does not
establish a clear legal right to a pistol license....”).

                                              7
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because it “effectively presumed that no citizen had such a right [to carry]” while “surety

laws ‘presumed that individuals had a right to … carry....’” Rahimi at 1902. Much like

that repudiated “special need” requirement, the CCIA’s “good moral character”

requirement “presumes” no right to carry, and prohibits the entire population from

keeping and bearing arms unless and until granted individual dispensation by the state.

       Next, prior to his deprivation of rights under Section 922(g)(8), “Rahimi had

received notice and an opportunity to be heard....” Rahimi at 1896. Likewise, the

historical surety and going-armed laws the Court considered first would “summon the

accused, who could respond to the allegations.” Id. at 1900. In contrast, a “rejected

applicant” denied a permit for lack of “good moral character” under the CCIA “can file

an internal administrative appeal of his denial,” a “prerequisite to an Article 78

proceeding....”8 Op. at 316 n.25. Thus, only after deprivation may he “be represented

by counsel … and [have] an opportunity to present additional evidence....” N.Y. Penal

Law § 400.00(4-a). In other words, “[t]ake the guns first … due process second.”9

       The CCIA also lacks specificity. For example, Rahimi was accused by “his

girlfriend, C.M.” of specific acts of violence, including that he had “grabbed her by the

wrist, dragged her back to his car, and shoved her in, causing her to strike her head

against the dashboard,” and “fired [his gun] as she fled....” Id. at 1894, 1895. Likewise,


8
  The meeting with licensing officials “for an interview” under N.Y. Penal Law
§ 400.00(1)(o), which takes place before a license is granted or denied.
9
  B. Samuels, Trump: ‘Take the Guns First, Go Through Due Process Second,’ HILL (Feb. 28,
2018), https://tinyurl.com/yvvupne6.

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in the 1790 surety case cited by the Court in Rahimi, a wife “listed a pattern of abuse”

by her husband, with the justice finding “that he had beat her, pulled her hair, kicked

her out of bed, and spit in her face, times without number.” K. Ryan, “The Spirit of

Contradiction”: Wife Abuse in New England, 1780-1820, 13 Early American Studies 586,

602 (2015); Rahimi at 1900. Finally, “going armed” laws “punish[ed] those who had

menaced others with firearms.” Id. at 1900. In contrast, “good moral character”

disarms license applicants without any specificity at all, but instead merely that, based

on a subjective prediction that a person “would pose a danger to himself, others, or to

public safety” broadly, whatever that means.10 Op. at 314. This rule allowed one person

to be denied a license for providing “character references … who were unaware of [his]

arrest” as a minor two decades prior. Dimino v. McGinty, 210 A.D.3d 1150, 1152 (N.Y.

App. Div. 2022). Another court recently found, post-Bruen, that “[a] person with

numerous traffic infractions is potentially someone with a lesser respect for the law,

[relevant to] whether one is fit for a pistol license.” Kamenshchik v. Ryder, 78 Misc. 3d

646, 656 (Nassau Cnty. 2023); cf. Tr. at 8 (Justice Roberts: “Is someone who drives 30

miles an hour in a 25-mile – mile-an-hour zone – does that person qualify as law-abiding

or – or not?”). See also Morse v. Shea, 2021 N.Y. Misc. LEXIS 874, at *4, *10 (Sup. Ct.

2021) (upholding denial because “[y]our illegal possession of [firearms] evidences your



10
   Rahimi at 1909 (Gorsuch, J., concurring) (“we do not decide today whether the
government may disarm a person without a judicial finding that he poses a ‘credible
threat’ to another’s physical safety.”).

                                           9
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disregard for the law and complete inability to follow the rules,” and “continuing to

possess firearms after [a] permit has expired is evidence of lack of good moral

character that justifies denying a subsequent application”); Biganini v. Gallagher, 293

A.D.2d 603, 603 (N.Y. App. Div. 2002) (no “good moral character” based on crimes

committed by one’s associates). It is entirely unclear what the “clear threat of physical

violence to another” (Rahimi at 1901) would have been in these situations.

       Finally, Rahimi went to great pains to note the temporary nature of the

disarmament. As the Court explained, “like surety bonds of limited duration, Section

922(g)(8)’s restriction was temporary … only … so long as the defendant ‘is’ subject to

a restraining order....” Id. at 1902; see also id. at 1900 (“[b]onds could not be required for

more than six months at a time”); id. at 1908-10 (Gorsuch, J., concurring) (“We do not

resolve whether the government may disarm an individual permanently”). In contrast,

a finding under the CCIA that an applicant lacks “good moral character” is essentially

a lifetime ban. See Dimino, 210 A.D.3d at 1150 (considering charges predating an

application by 15 and 20 years); Morse, 2021 N.Y. Misc. LEXIS 874, at *4, *10 (previous

firearm possession without a permit justification to deny subsequent application).

   C. “Good Moral Character” Is Not Merely a “Proxy for Dangerousness.”

       This Court’s claim that “good moral character” is merely a “proxy for

dangerousness,” is undermined by Rahimi. Equally problematic is the CCIA’s definition

of the term, as “having the essential character, temperament and judgement necessary




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to be entrusted11 with a weapon and to use it only in a manner that does not endanger

oneself or others.” This Court’s focus on “dangerousness” may draw inspiration from

the second half of that definition – “use [a firearm] only in a manner that does not

endanger oneself or others” – but it entirely ignores the predicate “having the essential

character, temperament and judgement necessary to be entrusted with a weapon....”

N.Y. Penal Law § 400.00(1). Indeed, one federal district court described “good moral

character” as “the ideal state of a person’s beliefs and values that provides the most

benefit to a healthy and worthy society.... [It] is more than having an unblemished

criminal record,” including “behav[ing] in an ethical manner and provid[ing] …

reassurance that he can be trusted to make good decisions … where there are no written

rules.” Sibley v. Watches, 501 F. Supp. 3d 210, 219 (W.D.N.Y. 2020).12

       In its briefing to the Supreme Court, the State claimed various examples of the

abusive application of “good moral character” (see supra at I(B)) are outdated because


11
   The notion that the government “entrusts” Americans with Second Amendment
rights implicitly rejects the Blackstonian position that the right to self-defense predates
government, as well as the Declaration of Independence which sources such rights in
the Creator. As Heller explained, “it has always been widely understood that the Second
Amendment … codified a pre-existing right,” and it is not “in any manner dependent
upon [a state licensing official] for its existence.” 554 U.S. at 592.
12
   This Court’s assumption that the “good moral character” standard confers only “a
modicum of discretion,” or at most “bounded discretion” (Op. at 312, 307), is
undermined by numerous state cases stating the opposite. See, e.g., Kantarakias v. Hyun
Chin Kim, 226 A.D.3d 1020, 1021 (N.Y. App. Div. 2024) (licensing officers have “broad
discretion in ruling on permit applications”); Husejnovic v. DeProspo, 225 A.D.3d 597, 598
(N.Y. App. Div. 2024) (same); see also Konigsberg v. State Bar of Cal., 353 U.S. 252, 262-63
(1957) (“The term ‘good moral character’ … by itself, is unusually ambiguous. It can
be defined in an almost unlimited number of ways....”).

                                            11
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of “the CCIA’s addition of the … good-moral-character definition,” which they claim

“narrowed and made more precise the longstanding requirement....”               Brief in

Opposition at 24 n.12, 6, Antonyuk v. James, No. 23-910 (U.S. May 9, 2024). Yet the

CCIA adopted the very language used in those earlier decisions. See Kamenshchik, 78

Misc. 3d at 651 (“likely to engage in conduct that would result in harm to themselves

or others”); Sibley, 501 F. Supp. 3d at 219 (“the essential temperament of character

which should be present in one entrusted with a dangerous [weapon]”). In other words,

the CCIA merely codified what has been the law in New York since at least 1976. See

Pelose v. Cnty. Ct. of Westchester Cnty., 53 A.D.2d 645 (N.Y. App. Div. 1976). The CCIA’s

definition is nothing new and is not merely a “proxy for dangerousness.”

II.   RAHIMI CONFIRMS THAT 1791 IS THE SINGULAR FOCAL POINT FOR SECOND
      AMENDMENT ANALYSIS.

      Bruen did not expressly rule whether 1791 or 1868 is the temporal focal point for

Second Amendment analysis, because the answer was not necessary to decide the case.

Id. at 37, 38. Rahimi took the same position. Id. at 1898 n.1. Even so, Bruen “assumed

that the scope of the protection applicable to the Federal Government and States is

pegged to … 1791.” Id. at 37 (emphasis added). But although the question was

technically left open, the answer is clear, because the Court consistently uses 1791 as

the focal point for interpreting all manner of constitutional provisions, with subsequent




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history serving a merely confirmatory role.13 Rahimi confirms this methodological

approach and undermines this Court’s divergent methodology.

     A. This Court’s Vacated Opinion Conflicts with Bruen and Rahimi.

       Although purporting to summarize the Bruen framework, this Court rewrote it

entirely. Indeed, despite Bruen’s instruction that its framework be followed every time a

challenger’s conduct implicates the plain text,14 this Court concluded that Bruen’s

“dispositive” factors need not be dispositive here, due to Bruen’s purportedly

“exceptional context.” Op. at 302, 303; see also id. n.10 (citing law review article

encouraging courts to “narrow[] Supreme Court precedent from below”).

       First, Bruen required an affirmative showing of historical analogues. Id. at 22, 30;

see also Rahimi at 1898 (emphasis added) (requiring “consisten[cy] with the principles

that underpin our regulatory tradition”).      But this Court disagreed, positing that

“[r]easoning from historical silence is … risky” and “the absence of a distinctly similar



13
   See, e.g., Lynch v. Donnelly, 465 U.S. 668, 674 (1984) (Establishment Clause); Espinoza v.
Mont. Dep’t of Revenue, 591 U.S. 464, 482 (2020) (noting that “a tradition” that “arose in
the second half of the 19th century,” even in “more than 30 States[,] … cannot by itself
establish an early American tradition” as to Free Exercise Clause); Virginia v. Moore, 553
U.S. 164, 168 (2008) (Fourth Amendment); Gamble v. United States, 587 U.S. 678, 683
(2019) (Fifth Amendment); Ramos v. Louisiana, 590 U.S. 83, 91 (2020) (Sixth
Amendment); Timbs v. Indiana, 586 U.S. 146, 152-53 (2019) (Eighth Amendment). The
sole exception, Apodaca v. Oregon, 406 U.S. 404 (1972), “was the result of an unusual
division among the Justices,” McDonald v. City of Chicago, 561 U.S. 742, 766 n.14 (2010),
and the Court overruled that “badly fractured set of opinions.” Ramos, 590 U.S. at 93.
14
   Bruen at 17, 24 (repeating that “[o]nly if” and “[o]nly then” – once the government
proves a “historical tradition of firearm regulation” – “may a court conclude that the
individual’s conduct falls outside the Second Amendment’s ‘unqualified command’”).

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historical regulation … can only prove so much.” Op. at 301. Second, Bruen noted that

“the lack of a distinctly similar historical regulation” addressing a persistent societal

issue “is relevant evidence that the challenged regulation is” unconstitutional. Id. at 26;

see also Rahimi at 1898. But this Court insisted that an absence of any relevant analogues

“may not be reliably dispositive.” Op. at 302. Third, Bruen required analogues to be

“well-established and representative,” rejecting mere “outliers.” Id. at 30, 65; see also

Rahimi at 1900 (finding one type of analogue “[w]ell entrenched in the common law”

and with Founding-era codification, with subsequent similar enactments in “[a]t least

nine other jurisdictions” providing further confirmation). In contrast, this Court held

that “comparable historical laws need not proliferate.” Op. at 304. Fourth, Bruen made

clear that courts are to interpret the Second Amendment’s meaning when it was ratified,

“according to the understandings of those who ratified” the text. Id. at 28; see also Rahimi

at 1907 (Gorsuch, J., concurring) (emphasis added) (“the Second Amendment ‘codified

a pre-existing right’ … that carries the same ‘scope’ … [as] … when the people adopted’

it.”). But this Court disagreed, finding it “implausible that the public understanding of

a fundamental liberty would arise at a historical moment, rather than over the preceding

era.” Op. at 304. Fifth, Bruen mandated historical analysis focused on the time of

ratification, warning that “postratification adoption or acceptance of laws that are

inconsistent with the original meaning of the constitutional text obviously cannot

overcome or alter that text.” Id. at 36; see also Rahimi at 1925 (Barrett, J., concurring)

(“evidence of ‘tradition’ unmoored from original meaning is not binding law.”). But

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this Court broadened the scope of such analysis to that which “existed at or around

ratification, unless historical context suggests otherwise.” Op. at 300 (emphases added).

       As for the one question which Bruen and Rahimi actually left unanswered – 1791

or 1868 – this Court wrongly elevated 1868 beyond its “mere[ly] confirmat[ory]” role.

Bruen at 37. This error tainted the historical analysis and enabled the synthesis of a

‘tradition’ which never existed.       See Op. at 318 n.27 (claiming “evidence from

Reconstruction … is at least as relevant as evidence from the Founding Era”) (emphasis

added); id. at 304 (“1868 and 1791 are both focal points of our analysis”). Of course,

this ignores Bruen’s “general[] assum[ption] that the scope of the protection applicable

to the Federal Government and States is pegged to … 1791.” Id. at 37; see also id. at 82-

83 (Barrett, J., concurring) (“1791 is the benchmark” because “Reconstruction-era

history” alone is “simply too late (in addition to too little),” and rejecting “freewheeling

reliance on historical practice from the mid-to-late 19th century....”).15 Making matters

worse, even after elevating 1868 beyond a merely confirmatory role, this Court upheld

the CCIA’s “good moral character” requirement not based on historical regulations



15
  This Court’s citation to McDonald was similarly erroneous. Claiming “the plurality
gave particular emphasis” to Reconstruction-era evidence, Op. at 305, this Court
omitted the fact that McDonald started with the Founding, and then noted that
Reconstruction-era evidence “only confirms that the right to keep and bear arms was
considered fundamental.” McDonald, 561 U.S. at 776 (emphasis added); cf. Bruen, 597
U.S. at 37 (“19th-century evidence [i]s ‘treated as mere confirmation....’”). Moreover,
McDonald made clear that the Second Amendment is “‘to be enforced against the States
under the Fourteenth Amendment according to the same standards that protect those
personal rights against federal encroachment.’” 561 U.S. at 765.

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contemporaneous with the Fourteenth Amendment’s ratification, but rather analogues

postdating even that. Op. at 318 (collecting disparate analogues spanning 1875 to 1892).

But Bruen made clear that such latecomers could not possibly carry the day. Id. at 38

(rejecting “a handful of late-19th-century jurisdictions....”).16

     B. Rahimi Provides Further Confirmation that 1791 Is the Appropriate Focal
        Point for Second Amendment Analysis.

       Rahimi provides further confirmation that this Court’s focus on Reconstruction-

era historical sources was erroneous. Id. at 1901 (giving singular reliance to “founding

era regimes”). To be sure, Rahimi again left the 1791 v. 1868 question open.17 Id. at

1898 n.1; see also id. at 1933 n.2 (Thomas, J., dissenting). Nevertheless, Rahimi’s analysis

forecloses this Court’s approach, as Rahimi’s singular focus was, once again, 1791. See,

e.g., id. at 1897 (“arms not limited to those that “were in existence at the founding.”); id. at

1898 (citing “the balance struck by the founding generation....’”); id. (emphases added)



16
   Having neglected the Founding as to “good moral character,” this Court identified
“two Founding-era states” that “replicated” the Statute of Northampton in order to
uphold several purportedly “sensitive places.” Op. at 356. But Bruen already dispensed
with medieval Northampton as having “little bearing on the Second Amendment
adopted in 1791.” 597 U.S. at 41. The two states that remain simply cannot form a
“Nation’s historical tradition” – they are, by definition, “outliers.” Id. at 17, 65. Indeed,
“scattered cases or regulations pulled from history may have little bearing on the
meaning of the text.” Rahimi at 1925 (Barrett, J., concurring).
17
   Although the Court has not yet definitively answered the 1791 v. 1868 question, its
Justices recognize that the Court will soon find necessary to answer this important
question. Bruen at 82 (Barrett, J., concurring) (“The historical inquiry presented in this
case does not require us to answer such questions, which might make a difference in
another case.”); Rahimi at 1929 n.4 (Jackson, J., concurring) (“Extremely pertinent
inquiries … await resolution,” including the 1791 v. 1868 issue).

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(examining “laws at the founding” and “what was done at the founding”). Indeed, Rahimi

did not consider any proffered analogue which had arisen for the first time during

Reconstruction. And not only did the Rahimi majority focus on the Founding, but also

so did both concurrences and dissent. See, e.g., id. at 1905 (Sotomayor, J., concurring)

(examining the modern evolution from “guns in the 18th century” and discussing

“interpersonal violence – ‘that has persisted since the 18th century’”); id. at 1908

(Gorsuch, J., concurring) (“admitting only those exceptions established at the time of

the founding.”); id. at 1924 (Barrett, J., concurring) (The Second Amendment’s “meaning

… fixed at the time of its ratification,” and the “history that matters most is the history

surrounding the ratification of the text.”); id. at 1932 (Thomas, J., dissenting) (noting a

“general societal problem that has persisted since the 18th century,” which requires

“distinctly similar historical regulation”); id. (noting Bruen and Heller’s focus on “founding-

era historical precedent”). In sum, Rahimi did not consider Bruen’s methodology or

holding to be “exceptional,” as this Court claimed. Op. at 299, 302, 303. Rather, “[t]he

Court reinforce[d] the focus on text, history, and tradition, following exactly the path []

described in Bruen.” Rahimi at 1910 (Gorsuch, J., concurring).

III.   RAHIMI CONFIRMS THAT THIS COURT MUST WRESTLE WITH THE RACIST
       ORIGINS OF “GOOD MORAL CHARACTER.”

       Justice Kavanaugh’s concurrence further confirms that the racist underpinnings

of New York’s “good moral character” requirement should cause it to be relegated to

the ‘dustbin of history.’ Indeed, the historical sources offered by New York to justify


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good moral character “do establish one general principle. … the selective deprivation

of the right to keep and bear arms almost invariably has been used as a weapon by the

politically powerful to disarm disfavored groups....” Answering Br. to State at 4, Doc.

262. Plaintiffs previously detailed this history, beginning with the Nation’s early

immigration and occupational licensing laws, various states’ slave codes, through

Florida’s use of carry licensing to oppress blacks and Italians in the early 1900s.

Antonyuk I, ECF #40 at 16-21; see also id. at 24-25 (“the CCIA’s demand that others

speak up for the good moral character of a person does have historical analogs – but

largely grounded in demonstrating the docility of slaves”). See also Antonyuk v. Hochul,

635 F. Supp. 3d 111, 135 n.22 (N.D.N.Y. 2022) (referencing 1832 Delaware law

requiring “that such free negro or free mulatto is a person of fair character....”).

       This Court acknowledged in passing the racial undertones of “many 18th-century

restrictions” (Op. at 326 n.46), but glossed over these uncomfortable origins to uphold

“good moral character” based solely on post-Reconstruction laws.18 But this is precisely

what Justice Kavanaugh explained that courts should not do, because “history can be



18
    In fact, this Court asserted that “[l]icensing schemes were a post-Civil War
phenomenon.” Op. 90 n.31. But firearms licensure existed at the Founding. See Brief
Amicus Curiae of National African American Gun Association, Inc. at 5-11, NYSRPA
v. Bruen, No. 20-843 (U.S. July 16, 2021) (cataloguing Founding-era bans on slaves and
freed blacks keeping and bearing arms without a license). In other words, early forms
of firearm licensing applied only to those not considered part of “the people” – or, for
that matter, considered people at all. See Aldridge v. Commonwealth, 4 Va. 447, 449 (1824)
(justifying “numerous restrictions” imposed on “free blacks … which are inconsistent
with the letter and spirit of the Constitution … as respects the free whites”).

                                             18
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probative of what the Constitution does not mean.” Rahimi at 1914 (Kavanaugh, J.,

concurring). Indeed, “many provisions of the Constitution [were drafted] precisely to

depart from rather than adhere to certain pre-ratification laws, practices, or

understandings.” Id. Thus, Justice Kavanaugh warned, “courts must exercise care to

rely only on the history that the Constitution actually incorporated and not on the

history that the Constitution left behind.” Id. at 1915.

       This Court’s narrow focus on post-Reconstruction sources ignored the racist,

xenophobic, and theophobic historical origins of “good moral character,” which shows

“what the Constitution does not mean.”19 See Simmons v. Galvin, 575 F.3d 24, 36-37 (1st

Cir. 2009) (characterizing “good moral character” as a “historically discriminatory test”).

This Court’s opinion also glossed over the resurgence of these licensing practices to

disenfranchise newly freed slaves after the Civil War. The Court pointed to several

licensing ordinances, dating from 1875-1892, but only from northern and western


19
  The Supreme Court has consistently held that racist history matters. See Ramos, 590
U.S. at 87-89 (“Though it’s hard to say why [nonunanimous verdict] laws persist, their
origins are clear … the avowed purpose of [one] was to ‘establish the supremacy of the
white race,’ … [including] exempt[ing] white residents from the most onerous of these
requirements,” tracing them “to the rise of the Ku Klux Klan and efforts to dilute “the
influence of racial, ethnic, and religious minorities on Oregon juries.”); Espinoza, 591
U.S. at 497 (Alito, J., concurring) (“[i]f the original motivation for the laws mattered [in
Ramos, 590 U.S. 83], it certainly matters here.”); see also Transcript of Oral Argument at
103-04, NYSRPA v. Bruen, No. 20-843 (U.S. Nov. 3, 2021),
https://tinyurl.com/4wyf2chz (Justice Alito: “[T]here are those who argue … that a
major reason for the enactment of the Sullivan Law was the belief that certain
disfavored groups, members of labor unions, Blacks and Italians, were carrying guns
and they were dangerous people and they wanted them disarmed.”).


                                            19
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United States. Op. at 318. But it is no coincidence that firearm licensing statutes arose

in the years immediately following emancipation. See Dred Scott v. Sandford, 60 U.S. 393,

417 (1857) (Chief Justice Roger Taney lamenting that, were the slaves freed, it “would

give to persons of the negro race” the right “to keep and carry arms wherever they

went.”). In response to that new reality, states began to restrict the carrying of firearms,

and such laws were generally “passed for the purpose of disarming the negro [and] was

never intended to be applied to the white population … generally conceded to be in

contravention to the Constitution and non-enforceable if contested.” Watson v. Stone, 4

So. 2d 700, 703 (Fla. 1941); see also State ex rel. Russo v. Parker, 57 Fla. 170 (1909).

       Like Founding-era history, this post-Civil War history undermines the

constitutionality of “good moral character” requirements because, as Justice Kavanaugh

explained, the Fourteenth Amendment sought to “reject the Nation’s history of racial

discrimination, not to backdoor incorporate racially discriminatory and oppressive

historical practices and laws into the Constitution.” Rahimi at 1915 (Kavanaugh, J.,

concurring). It is important that this Court address the full history of the requirement to

prove “good moral character” prior to exercising a constitutional right – especially given

that the Second Amendment declares this right “shall not be infringed.”

                                     CONCLUSION

       The portions of the district court’s opinion under review should be affirmed.

                                                   Respectfully submitted,



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Dated: September 4, 2024

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                       CERTIFICATE OF COMPLIANCE
      Pursuant to this Court’s Order dated August 7, 2024, I, Stephen D. Stamboulieh,

one of the attorneys for Plaintiffs-Appellees, hereby certify that this brief contains 20

pages and complies with the typeface requirements and length limits of Rule 32(a)(5)-

(7) and Local Rule 32.1.

                                                /s/ Stephen D. Stamboulieh
                                                Stephen D. Stamboulieh




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